
693 N.W.2d 814 (2005)
472 Mich. 873-882
People
v.
McCray.
Docket No. 126729, COA No. 252233.
Supreme Court of Michigan.
March 10, 2005.
Application for Leave to Appeal.
On order of the Court, the application for leave to appeal the June 17, 2004 order of the Court of Appeals is considered, and it is DENIED, because we are not persuaded that the questions presented should be reviewed by this Court.
CAVANAGH and KELLY, JJ., would hold this case in abeyance for Halbert v. Michigan, cert. gtd. ___ U.S. ___, 125 S.Ct. 823, 160 L.Ed.2d 609 (2005).
